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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                                FT. WORTH DIVISION
ROBERT (BOB) ROSS,                     §
   Plaintiff/Counterclaim Defendant,   §
                                       §
v.                                     §     Civil Action No. 4:22-CV-00343-Y
                                       §
ASSOCIATION OF PROFESSIONAL §
FLIGHT ATTENDANTS, et al.              §
   Defendants/Counterclaim Plaintiff.  §


EUGENIO VARGAS,                              §
 Plaintiff/Counterclaim Defendant,           §
                                             §
v.                                           §       Civil Action No. 4:22-CV-00430-Y
                                             §
ASSOCIATION OF PROFESSIONAL                  §
FLIGHT ATTENDANTS, et al.                    §
 Defendants/Counterclaim Plaintiff.          §

         NOTICE OF WITHDRAWAL OF MOTIONS FOR LEAVE TO FILE

       COMES NOW, Robert “Bob” Ross and Eugenio Vargas, Defendants in the above-

entitled causes and hereby withdraws their Motions for Leave to File Amended Complaints and

Briefs in Support filed on April 8, 2023, based on updates needed to Certificate of Conferences

filed therein. The Docket numbers for the withdrawn filings include 85 and 86 for 22-CV-00343-

Y, and 82 and 83 for 22-CV-00430-Y, respectively.

Date: April 11, 2023                         Respectfully submitted,

                                             K.D. PHILLIPS LAW FIRM, PLLC
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                             CERTIFICATE OF SERVICE

        I certify that true and correct copy of this document was sent to all counsel of
record, hereunder listed via ECF filing on this the 11th day of April 2023.

William Osborne, Sanford Denison, Michael Rake
                                                            /s/Kerri Phillips
                                                           Kerri Phillips


                             CERTIFICATE OF SERVICE

        I certify that true and correct copy of this document was sent to all counsel of
record, hereunder listed via ECF filing on this the 11th day of April 2023.

William Osborne, Sanford Denison
                                                            /s/Kerri Phillips
                                                           Kerri Phillips




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